         6:20-cr-00119-DCJ Document 29 Filed in ED/OK on 07/31/23 Page 1 of 1
Prob 12
(Rev. 3/88)

                         UNITED STATES DISTRICT COURT
                                    For The
                        EASTERN DISTRICT OF OKLAHOMA


U.S.A. vs. Meredith Dawn Dunkin                       Docket No. CR-20-00119-001-DCJ

                         Petition on Probation and Supervised Release


        COMES NOW BEAU MORRIS, PROBATION OFFICER OF THE COURT, presenting
an official report upon the conduct and attitude of Meredith Dawn Dunkin, who was sentenced by
the Honorable United States District Judge David C. Joseph, on the 17th day of May 2021, who
fixed the period of imprisonment at 9 months and supervision at 2 years. At sentencing the general
terms and conditions theretofore were adopted by the Court and the Court also imposed special
conditions and terms as follows:

“Restitution was ordered to be paid in the amount of $80,083.35.”

      RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:


Meredith Dawn Dunkin has paid restitution in the amount of $5,164.55 of the $80,083.35
originally court ordered. It would appear that Meredith Dawn Dunkin will be unable to satisfy
the $80,083.35 financial obligations prior to the expiration of her supervision. Meredith Dawn
Dunkin has been making timely restitution payments each month as court ordered.

PRAYING THAT THE COURT WILL ORDER that supervision be terminated as scheduled on
January 30, 2024.

    ORDER OF COURT                                   Respectfully,

    Considered and ordered this 31st day of July
    2023, and ordered filed and made a part of the
    records in the above case.                       s/ Beau Morris
                                                     U.S. Probation Officer
                                                     Eastern District of Oklahoma
    ___________________________________
    DAVID C. JOSEPH                                  Date: July 26, 2023
    UNITED STATES DISTRICT JUDGE
